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                         Exhibit 2
          Case 2:20-cv-09582-JFW-E Document 54-2 Filed 03/17/21 Page 2 of 3 Page ID #:1180
          Manual of Policy and Procedures : 5-09/475.00 Photographs/Recordings at Scenes Where
                                       Human Remains are Present
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     5-09/475.00 Photographs/Recordings at Scenes Where Human Remains
     are Present
     In the performance of their daily duties, Department members are entrusted to respond to scenes that are not
     accessible to the general public, often times where human remains are present, such as:

           Mass casualty incidents;
           Natural disasters;
           Homicides;
           Deputy/officer-involved shootings;
           Suicides;
           Traffic collisions;
           Train deaths; and
           Other non-criminal deaths.
     The response by Department members is a valued and vital component of public safety in ongoing
     investigations. Information learned at these scenes, including any photographs/recordings taken, shall only be
     shared with or disclosed to the lead investigators or the investigator’s supervisors, unless otherwise required
     by law.

     In order to preserve the dignity and privacy of the deceased and their families, scenes where human remains
     are present shall only be photographed/recorded by Scientific Services Bureau or the Department of Medical
     Examiner (DME) personnel. Only when extenuating circumstances exist may Department members take
     photographs/recordings at the direction of the lead investigators or the investigator’s supervisors. All
     photographs/recordings shall be taken on a Department-issued device, unless a personal device is used
     exclusively to photograph or record legitimate Department business (see MPP section 3-01/100.46, Use of
     Communication Devices).

     Fatal traffic collisions investigated by Traffic Services Detail and/or station traffic investigators assigned to
     investigate fatal traffic collisions are allowed to photograph collisions scenes during the course of the
     investigation; however, the photographs shall be safeguarded in compliance with this policy, and/or any
     policies mentioned herein.

     Any photograph, recording, or record produced by a Department member, whether captured on a Department
     issued device or personal device, shall be considered the sole property of the Department. Any unauthorized
     release or sharing is strictly prohibited.

     Any digitally captured photographs/recordings, shall be disclosed to the assigned investigator or the
     investigator’s supervisors. The Department member shall preserved the photographs/recordings pending the
     transfer of all related images for evidence storage by a trained Department member from the Fraud and
     Cyber Crimes Bureau, Technical Operations Crew, or Homicide Bureau, Body Worn Camera Unit.

     Scene photographs/recordings taken or captured by Department members shall not, under any
     circumstances, be disclosed to anyone other than the lead investigators or the investigator’s supervisors,
     unless otherwise required by law. If the investigation is being handled by an outside authority such as a
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          Manual of Policy and Procedures : 5-09/475.00 Photographs/Recordings at Scenes Where
                                       Human Remains are Present
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     federal or state agency, photographs/recordings should be given to that agency only with the concurrence of
     the Department’s lead investigator. The unauthorized sharing of photographs/recordings and/or scene
     information not only violates public trust but it also may subject the individual and the Department to civil
     liability. Scene information, especially photographs/recordings shall be guarded with the utmost respect to
     protect the integrity of the investigation.

     Nothing in this policy precludes a Department member’s obligation to activate their Department issued body
     worn camera pursuant to MPP section 3-06/200.08, Body Worn Cameras – Activation.




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